


  FOURNET, Justice.
 

  The state has filed a motion here to have the defendant’s appeal from his conviction and sentence on • a charge of receiving and concealing stolen property dismissed on the ground that the motion for the appeal was taken and signed in chambers and not in open court, as required by Article 542 of the Code of Criminal Procedure.
 

 
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  Conceding, for the purpose of this decision, that the appeal was properly lodged here, the position most favorable to the accused, we find that the case presents nothing for our review, for it is another of those appeals taken where no bills of exceptions were either filed or perfected and there is no error patent on the face of the record.
 

  For the reasons assigned the conviction and sentence are affirmed,
 
